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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO


 ALEXANDER AARON GINZBURG,

      Plaintiff,

                  v.                       Civil No. 19-1254 (FAB)

 JORGE ALBERTO MARTÍNEZ-DÁVILA,
 et al.,

      Defendants.



                          OPINION AND ORDER

BESOSA, District Judge.

     On March 22, 2019, the Court denied plaintiff Alexander Aaron

Ginzburg (“Ginzburg”)’s request for a temporary restraining order

(“TRO”) pursuant to Federal Rule of Civil Procedure 65 (“Rule 65”).

(Docket Nos. 4 and 10.)         Ginzburg moves for reconsideration.

(Docket No. 11.)       For the reasons set forth below, Ginzburg’s

motion for reconsideration is DENIED.

I.   Background

     This litigation concerns a purported breach of contract.

(Docket No. 1.)        Ginzburg is a film producer.         Id. a p. 1.

Defendant Jorge Alberto Martínez-Dávila (“Martínez”) is an actor,
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film producer, and the sole member of Utopia Film LLC (“Utopia

Film”).    Id. at pp. 1—2. 1

      Around 2016 or 2017, Martínez planned to make a film and began

some pre-production work.        Id. at p. 2.     The Puerto Rico Treasury

Department provided Martínez with a tax credit pursuant to the

Puerto Rico Film Industry Economic Incentives Act (“Act 27”), P.R.

Laws Ann. tit 23, section 11006b.          Id. at p. 3.      Act 27 provides

“grantees engaged in film projects or infrastructure projects

. . . a credit against [certain] taxes.”            P.R. Laws Ann. tit 23,

§ 11006b(a).      The tax credit is valued at forty-percent of the

“amounts certified by [an] Auditor as disbursed in connection with

all   Puerto   Rico   production     expenditures.”       Id.   §   1106b(b). 2

Grantees may sell the tax credit, the proceeds of which are “exempt




1
 Ginzburg invokes this Court’s diversity jurisdiction, alleging complete
diversity of citizenship among the parties, and that the amount in controversy
exceeds $75,000. Docket No. 1 at p. 3; citing 28 U.S.C. § 1332. The verified
complaint names the following entities as defendants: Martínez, Katia Parrilla
“Parrilla,” the conjugal partnership constituted by Martínez and Parrilla, and
Utopia Film. (Docket No. 1. at p. 1.) Ginzburg resides in San Juan, Puerto
Rico.   Id. at p. 1.     Martínez and Parrilla reside in Florida.     Id.   The
citizenship of Utopia Film is “determined by the citizenship of its members.”
D.B. Zwirn Special Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124, 125 (1st
Cir. 2011) (citation omitted). Because Martínez is a citizen of Florida, Utopia
Film is also a citizen of Florida. The Court is satisfied that, based on the
allegations set forth the verified complaint, diversity jurisdiction exists in
this civil action.

2 The amount of the tax credit increases if the grantee complies with additional

requirements, including the commission of screenwriters and directors who are
Puerto Rico residents. P.R. Laws Ann. tit 23, § 11006b(b)(1). The tax credit,
however, “may never exceed ninety percent (90%) of the total Puerto Rico
production expenditures.” Id. § 1106b(b)(F).
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from the payment of any tax imposed by the Government of Puerto

Rico.”     Id. § 1106b(e).

     Funds for the film dissipated, prompting Martínez to seek

additional     financing.      Id.   at    p.   3.   Ginzburg   and   Martínez

purportedly entered into an agreement, evidenced by e-mail and

text message communications.         Id.   Martínez agreed to transfer the

tax credit and Utopia Film to Ginzburg.              Id. at p. 4.     The tax

credit is “potentially worth about $730,000.” Id. Ginzburg agreed

to fund the entire film, ultimately contributing $901,310.90 to

the project.      Id. at p. 6.    Martínez failed, however, to transfer

the tax credit and Utopia Film to Ginzburg.            Id. at p. 8.

     Ginzburg asserts a breach of contract claim against Martínez,

Parrilla, the Martínez-Parrilla conjugal relationship, and Utopia

Film (collectively, “defendants”) pursuant to Puerto Rico law.

Id. at p. 9; see P.R. Laws Ann. tit. 31, § 3018.           Should the Court

find that the parties did not enter into an enforceable contract,

Ginzburg requests that the Court construe the money he contributed

to the film as a loan.        Id. at p. 10.      Ultimately, Ginzburg seeks

“payment of $901,310.90.”        Id.

     Ginzburg moved for a temporary restraining order (“TRO”) to

enjoin the defendants from “selling, pledging, transferring or

assigning the title and ownership of [Utopia Film] and the tax

credit.”     (Docket No. 4 at p. 2.)       The Court denied the motion for
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a TRO.    (Docket No. 10.)       Ginzburg moves for reconsideration.

(Docket No. 11.)    The arguments presented in support of Ginzburg’s

motion for reconsideration are unavailing.

II.   Motion for Reconsideration Standard

      The Federal Rules of Civil Procedure “do not specifically

provide for the filing of motions for reconsideration.”           Sánchez-

Pérez v. Sánchez-González, 717 F. Supp. 2d 187, 193-94 (D.P.R.

2010) (Besosa, J.) (citation omitted).         “[I]t is settled in [the

first] circuit[, however,] that a motion which ask[s] the court to

modify its earlier disposition of [a] case because of an allegedly

erroneous legal result is brought under Fed. R. Civ. P. 59(e).”

Marie v. Allied Home Mortg. Corp., 402 F.3d 1, 7 (1st Cir. 2005)

(citation omitted).

      Pursuant to Federal Rule of Civil Procedure 59(e), a district

court will alter its original order only if it “evidenced a

manifest error of law, if there is newly discovered evidence, or

in certain other narrow situations.”        Biltcliffe v. CitiMortgage,

Inc., 772 F.3d 925, 930 (1st Cir. 2014) (citation omitted).             A

motion for reconsideration does “not provide a vehicle for a party

to undo its own procedural failures [or] allow a party [to] advance

arguments that could and should have been presented to the district

court prior to judgment.”       Iverson v. City of Bos., 452 F.3d 94,

104 (1st Cir. 2006) (citation omitted). “Rule 59(e) does not exist
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to allow parties a second chance to prevail on the merits . . .

[and] is not an avenue for litigants to reassert arguments and

theories that were previously rejected by the Court.”                    Johnson &

Johnson Int’l v. P.R. Hosp. Supply, Inc., 322 F.R.D. 439, 441

(D.P.R. 2017) (Besosa, J.) (citations omitted).                  “Stated another

way, a motion for reconsideration is not properly grounded in a

request for a district court to rethink a decision it has already

made, rightly or wrongly.”         Morán-Vega v. Rivera-Hernández, 381 F.

Supp. 2d 31, 36 (D.P.R. 2005) (Domínguez, J.).

      In deciding a motion for reconsideration, the reviewing court

has   considerable       discretion.        Venegas-Hernández       v.     Sonolux

Records, 370 F.3d 183, 190 (1st Cir. 2004).                “As a general rule,

motions for reconsideration should only be exceptionally granted.”

Villanueva-Méndez v. Nieves-Vázquez, 360 F. Supp. 2d 320, 323

(D.P.R. 2005) (Domínguez, J.).             “Rule 59(e) relief is granted

sparingly.”        Biltcliffe, 772 F.3d at 930.

III. Discussion

      A     temporary   restraining      order   “is   a   provisional      remedy

imposed to maintain the status quo until a full review of the facts

and legal arguments is available.”          Pro-Choice Network v. Schenck,

67 F.3d 377, 389-99 (2d Cir. 1995).              The following four factors

govern the Court’s TRO analysis:             (1) the likelihood that the

movant      will    succeed   on   the   merits;   (2)     the    potential    for
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irreparable harm if the injunction is denied; (3) the balance of

the relevant equities (i.e., the hardship that will befall the

defendants if the TRO issues contrasted with the hardship that

will befall Ginzburg if the TRO does not issue); and (4) the effect

of    the       Court’s      ruling      on    the     public      interest.

Planned Parenthood League v. Bellotti, 641 F.2d 1006, 1009 (1st

Cir. 1981). 3

     Injunctive relief is “a matter for the discretion of the

district court and is reversible, of course, only for an abuse of

discretion.”       Id.    Temporary restraining orders “must be used

sparingly and only in cases where the need for extraordinary

equitable relief is clear and plain.”            Northwest Bypass Grp. v.

United States Army Corps. of Eng’rs, 453 F. Supp. 2d 333, 338

(D.N.H. 2006) (internal citation and quotation omitted); see Mass.

Coalition of Citizens with Disabilities v. Civil Def. Agency &

Office of Emergency Preparedness, 649 F.2d 71, 76 n.7 (1st Cir.

1981).     Ginzburg shoulders the burden of establishing that a TRO

is warranted.      Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102

F.3d 12, 18 (1st Cir. 1996).




3 Although Planned Parenthood League v. Bellotti, 641 F.2d 1006, concerned a
preliminary injunction, courts employ the “same four-factor analysis” to
“determine whether to issue a temporary restraining order.” OfficeMax Inc. v.
County Quick Print, Inc., 709 F. Supp. 2d 100, 106 (D. Me. 2010) (citation
omitted).
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      A.    Ginzburg Failed to Demonstrate Irreparable Harm

            Ginzburg contends that the potential “dissipation of

assets by the defendants” constitutes irreparable harm.               (Docket

No. 11 at p. 2.)      According to Ginzburg, a TRO will preserve the

tax credit and Utopia Film.          Id. at 3.     These assets, Ginzburg

argues, are “indispensable for this Honorable Court to grant a

meaningful remedy.”      The Court disagrees. 4

            To demonstrate irreparable harm, Ginzburg must establish

that legal remedies are inadequate.         Idaho v. Coeur D’Alene Tribe,

521 U.S. 261, 292 (1997) (holding that the “inadequacy of a legal

remedy is a prerequisite for equitable relief in any case”); See

Infusaid Corp. v. Intermedics Infusaid, Inc., 739 F.2d 661, 668



4
 In Grupo Mexicano De Desarrollo v. Alliance Bond Fund, the United States
District Court for the Southern District of New York issued a preliminary
injunction in a breach of contract action. 527 U.S. 308, 327 (1999).        The
preliminary injunction enjoined debtors from dissipating assets to ensure the
satisfaction of an “almost certain” judgment. 527 U.S. 308, 327 (1999). The
Supreme Court reversed, holding that the district court “had no authority to
issue a preliminary injunction preventing [the debtors] from disposing of their
assets” because “such a remedy was historically unavailable from a court of
equity.” Id. at 332-33 (noting that “the equitable powers conferred by the
Judiciary Act of 1789 did not include the power to create remedies previously
unknown to equity jurisprudence”). In a subsequent action, the District Court
for the District of Massachusetts denied a motion seeking to freeze “funds in
order to secure future payment.” Charlesbank Equity Fund II, Ltd. v. Blinds To
Go, 370 F.3d 151, 155 (1st Cir. 2004). On appeal, the First Circuit Court of
Appeals noted the Supreme Court’s decision in Grupo Mexicano de Desarrollo, but
“assume[d] for argument’s sake that the district court had the authority to
grant the relief requested – a preliminary injunction in the nature of a freeze
order.” Id. at 159. Proceeding on this assumption, the First Circuit Court of
Appeals affirmed the denial of injunctive relief because the movant “failed to
make the requisite showing of irreparable harm.” Id. at 163. Similarly, this
Court need not address whether the Supreme Court’s decision in Grupo Mexicano
de Desarrollo is dispositive. Ginzburg’s motion for a TRO is denied because he
failed to demonstrate irreparable harm.
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(1st Cir. 1984) (“[T]he general rule is if there is an adequate

remedy at law, equitable relief is unavailable.”). “Legal remedies

traditionally involve money damages [whereas equitable remedies]

are ‘typically coercive, and are enforceable directly on the person

or thing to which they are directed.’”           Int’l Fin. Servs. Corp. v.

Chromas Techs. Canada, Inc., 356 F.3d 731, 736 (7th Cir. 2004).

           This litigation is an attempt to recover legal damages.

Ginzburg maintains that he is entitled to the tax credit and

ownership of Utopia Film.          (Docket No. 1.)       Should these assets

become unavailable, however, Ginzburg seeks a monetary award of

$901,301.90.     (Docket No. 1 at p. 10.)           By doing so, Ginzburg

recognizes that money damages are sufficient to remedy the harm he

purportedly suffered.        See CMM Cable Rep., Inc. v. Ocean Cost

Props.,   48   F.3d   618,   622   (1st   Cir.   1995)   (holding   that   “an

entitlement to money damages, without more, rarely constitutes an

adequate basis for injunctive relief”).           Accordingly, a TRO is not

appropriate in this action.         See Charles Equity Fund II, 370 F.3d
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at 162 (denying motion for injunctive relief, because the movant

“[sought] an award of pecuniary damages” to “make it whole”). 5

            Ginzburg fears that he “may end up without any means to

enforce a judgment or collect the amounts he is owed.”                 (Docket

No. 4 at p. 7.)     The potential inability of defendants to satisfy

a future judgment is, however, an insufficient basis to grant

injunctive relief.      See Ross-Simons of Warwick, Inc. v. Baccarat,

Inc., 102 F.3d 12, 19 (1st Cir. 1996) (holding that “a preliminary

injunction is not warranted by a tenuous or overly speculative

forecast of anticipated harm”); Merill Lynch, Pierce & Smith, Inc.,

v. Bishop, 839 F. Supp. 68, 70 (D. Me. 1993) (“[E]conomic harm in




5 See also 4 MVR, LLC v. Warren W. Hill Constr. Co., Case No. 12-10674, 2012
U.S. Dist. LEXIS 102204 *13 (D. Mass. July 23, 2010) (“Because a damages award
will make 4 MVR whole, its legal remedy is adequate and does not support a
finding of irreparable harm.”); Fruth v. Zanic, Case No. 06-411, 2006 U.S. Dist.
LEXIS 73044 *10 (N.D. Ohio Oct. 6, 2006) (holding that the plaintiff failed to
demonstrate irreparable harm by alleging that defendants “will be unable to
satisfy any money judgment”); Craig v. Pepperidge Farm, Inc., Case No. 06-954,
2008 U.S. Dist. LEXIS 69604 *4 (S.D. Ind. Sept 15, 2008) (denying motion for
injunctive relief because the “only rationale offered for the relief requested
at this point is the economic or monetary damage plaintiff McGuire expects to
suffer . . . This loss is fully measurable, and McGuire’s legal remedy appears
completely adequate to provide him with a remedy for this loss”).
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and of itself is not sufficient to constitute irreparable harm.”). 6

Inherent in every breach of contract action is the possibility

that the Court will award a monetary judgment that the defendant

cannot satisfy.        Granting a TRO based on this contingency would

obliterate the irreparable harm requirement.            See Alvin J. Coleman

& Son, Inc. v. Francis Harvey & Sons, Inc., Case No. 12-40068,

2012 U.S. Dist. LEXIS 110152 *10 (D. Mass. Aug. 7, 2012) (The

“possibility that Plaintiffs will be unable to satisfy any judgment

they may obtain against Defendants . . . [is] a statement that can

be made by virtually every plaintiff suing for money damages”).

The   absence     of   irreparable    harm    compels   the    Court   to   deny

Ginzburg’s motion for reconsideration.

III. Conclusion

      For   the   reasons   set   forth      above,   Ginzburg’s   motion   for

reconsideration is DENIED.           (Docket No. 11.)         The Court ORDERS




6 Ginzburg cites Westernbank P.R. v. Kachkar for the proposition that an asset
freeze is appropriate when “the plaintiff creditor asserts a cognizable claim
to specific assets of the defendant.” Case No. 07-1606, 2009 U.S. Dist. LEXIS
78726 *30 (D.P.R. Sept. 1, 2009) (Delgado-Colón, J.)      Kachkar is, however,
inapposite. Id. The plaintiff in Kachkar alleged that the defendants committed
fraud by submitting “duplicate, inaccurate and altered invoices on a regular
basis in order to obtain more funding than it was supposed to receive.” Id. at
*38.    The court held that “in a fraud situation as this case presents, [the
plaintiff] can show that it would suffer irreparable harm easily because of the
‘strong indication that [the defendants] may dissipate or conceal assets.” Id.
at *41. (citing Mirco Signal Research, Inc. v. Otus, 417 F.3d 28 (1st Cir.
2005)).   Ginzburg merely alleges that that the defendants have assets that
belong to him, not that the defendants are committing fraud.
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Ginzburg to serve upon the defendants the following documents no

later than April 1, 2019.

     1.    The Verified Complaint (Docket No. 1);

     2.    The Ex Parte Motion for Temporary Restraining Order,

Preliminary Injunction and Attachment (Docket No. 4);

     3.    The Order denying the Ex Parte Motion for Temporary

Restraining Order, Preliminary Injunction and Attachment (Docket

No. 10);

     4.    The Motion for Reconsideration (Docket No. 11);

     5.    And this Order.

     The service shall be deemed service upon all of defendant’s

officers, employees, attorneys and agents.

     The Court’s previous ORDER that this case be returned to the

docket of Judge Pedro Delgado-Hernández is VACATED.           Defendants

will answer the complaint and respond to the motion for preliminary

injunction no later than April 15, 2019.        Once defendants answer

the complaint and respond to the motion for preliminary injunction,

the Court will enter appropriate orders.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, March 26, 2019.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
